Case 1:18-cv-06612-DLI-JO Document 52 Filed 11/08/19 Page 1 of 3 PageID #: 303


                        KORSINSKY & KLEIN, LLP
                                          2926 Avenue L
                                     Brooklyn, New York 11210


                                         TEL: (212) 495-8133
                                       WWW.KKLAWFIRM.COM
PARTNERS:
MICHAEL KORSINSKY, ESQ*                                                  SAMUEL DIAMANTSTEIN, ESQ*
JOSEPH KLEIN, ESQ., CPA*                                                 MARC ILLISH, ESQ..
                                                                         ADAM M. BIRNBAUM, ESQ.**
COUNSEL:
DANIEL J. LIEBERMAN, ESQ.                                                * Admitted in NY & NJ
                                                                         ** Admitted in NY and MA




November 8, 2019

VIA ECF

Hon. Dora Irizarry
United States District Court Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re:     Scripts Wholesale, Inc. et ano v. Mainspring Distribution LLC and Edvin Ovasapyan
        Case No. 1:18-cv-06612-DLI-JO

Dear Judge Irizarry,

We represent Plaintiffs Scripts Wholesale, Inc. (“Scripts”) and Lieb Pharmacy Inc. (“Lieb”) in
the above-captioned action. Pursuant to your Honor’s Individual Motion Practice and Rules, we
write to request a pre-motion conference seeking leave to file a motion for partial summary
judgment under Rule 56. This letter summarizes the basis for said motion.

Summary of the Complaint Plaintiffs are wholesale pharmacies. Defendant Mainspring
Distribution LLC (“Mainspring”) was a supplier of pharmaceuticals to the Plaintiffs. Defendant
Edvin Ovasapyan (“Ovasapyan”) was a member of Mainspring. The Amended Complaint alleges
that the Defendants solicited large advance payments from Plaintiffs for the purchase of
wholesale pharmaceutical products. The parties carried on in this manner for a period of time,
with the Plaintiffs making advance payments from which Mainspring would deduct the purchase
price upon shipment. In 2018, Defendants began soliciting payments in excess of any products
shipped to Plaintiffs, with the promise that these larger advance payments would be used to make
larger wholesale purchases, resulting in a lower per-unit cost to the Plaintiffs. In actuality,
Ovasapyan was diverting those advance payments to other persons and entities not related to the
purpose for which the advance payments were solicited and made. Mainspring ceased operations
on or about November 8, 2018, with the Plaintiffs’ advance payments, amounting to
$4,828,062.00, still outstanding. After credits applied subsequent to the commencement of this
action, $3,783,062.00 of this amount is still outstanding.
Case 1:18-cv-06612-DLI-JO Document 52 Filed 11/08/19 Page 2 of 3 PageID #: 304
Hon. Dora Irizarry
Page Two

Plaintiffs are Entitled to Summary Judgment on their Breach of Contract Claim Parties
entered into an agreement through written letters, notes, text messages, and voice
communications, and engaged in a course of performance amounting to an enforceable contract.
“Under New York law, a breach of contract claim requires proof of (1) an agreement, (2)
adequate performance by the plaintiff, (3) breach by the defendant, and (4) damages.” Fischer &
Mandell, LLP v. Citibank, N.A., 632 F.3d 793, 799 (2d Cir. 2011). The evidence will show that
there was an agreement between and among the parties under which the Plaintiffs made advance
payments to Mainspring in exchange for a commitment by Mainspring to ship products to
Plaintiffs. As there is no actual dispute over the material terms of this agreement, the
arrangement manifests an intent to form a contract which is enforceable at New York law, NY
UCC 2-204(3), See Kleinschmidt Div. of SCM Corp. v. Futuronics Corp., 41 N.Y.2d 972, 973,
363 N.E.2d 701, 395 N.Y.S.2d 151 (N.Y. 1977). There is no dispute that the Plaintiffs made the
payments in question, amounting to adequate performance by Plaintiffs. There is likewise no
dispute that the Defendants did not make shipments of products corresponding to the outstanding
balance, amounting to breach by Defendant Mainspring. The Plaintiffs have thereby been injured
in the amount of $3,783,062.00 and are entitled to summary judgment on this cause of action.

In the Alternative, Plaintiffs are Entitled to Summary Judgment on their Unjust Enrichment
Claim At New York law, to prevail in an action for unjust enrichment the plaintiff must
establish: (1) that the defendant benefitted; (2) at the plaintiff's expense; and, (3) that equity and
good conscience require restitution. See, ex., Beth Israel Med. Ctr. v. Horizon Blue Cross & Blue
Shield of New Jersey, Inc., 448 F.3d 573 (2d Cir. 2006). In the instant case, the evidence will
demonstrate that Mainspring solicited and accepted payments in the amount of $3,783,062.00
from Plaintiffs, that Mainspring benefitted at the Plaintiffs’ expense, and that equity requires that
the Plaintiffs be made whole. The evidence will also demonstrate that Ovasapyan diverted said
funds to his own purposes, unrelated to the purpose for which the payments were made, that
Ovasapyan thereby benefited from the payments at the Plaintiffs’ expense, and that equity and
good conscience should bar him from retaining the benefits of those funds. The Plaintiffs are
entitled to summary judgment on this cause of action and ask that the Court impose a
constructive trust in the Plaintiffs’ favor upon so much of the assets Defendants purchased as can
be identified and traced to the misappropriated payments.

Plaintiffs are Entitled to Summary Judgment on their Claim for Money Had and Received At
New York law, a claim for money had and received requires that the plaintiff show: (1)
defendant received money belonging to plaintiff; (2) defendant benefited from the receipt of the
money; and (3) under principles of good conscience defendant should not be allowed to retain
that money. Litvinoffv. Wright, 150 A.D.3d 714 (2nd Dept. 2017). The evidence, including a
forensic analysis of the Defendants’ accounts, will demonstrate that Mainspring and Ovasapyan
received $3,783,062.00 belonging to the Plaintiffs, that Defendants benefitted from receipt of
said funds, and that the Defendants should not be permitted to retain the benefit. Plaintiffs are
thus entitled to restitution in the amount of $3,783,062.00.

Plaintiffs are Entitled to Summary Judgment on their Claim for Conversion “Conversion takes
place when someone, intentionally and without authority, assumes or exercises control over
personal property belonging to someone else, interfering with that person's right of possession.”
Colavito v. N.Y. Organ Donor Network, Inc., 8 N.Y.3d 43, 860 N.E.2d 713, 717, 827 N.Y.S.2d
96 (N.Y. 2006). “Where the property is money, it must be specifically identifiable and be subject
Case 1:18-cv-06612-DLI-JO Document 52 Filed 11/08/19 Page 3 of 3 PageID #: 305
Hon. Dora Irizarry
Page Three

to an obligation to be returned or to be otherwise treated in a particular manner.” Republic of
Haiti v. Duvalier, 211 A.D.2d 379, 626 N.Y.S.2d 472, 475 (1st Dept 1995). In this case, the
evidence demonstrates that Plaintiffs established with Mainspring a “specific and identifiable
fund” containing the Plaintiffs’ advance payments. Mainspring was under an obligation to use
the contents of the fund for the purchase of pharmaceuticals and for no other purpose. In
violation of the Plaintiffs’ rights to the fund, Mainspring and Ovasapyan caused the contents of
said fund to become diverted and dissipated for their own purposes and in interference with the
Plaintiffs’ rights to the fund. The Plaintiffs are thereby entitled to summary judgment on this
cause of action in the amount of $3,783,062.00.

Plaintiffs are Entitled to Summary Judgment on their Claim under New York Debtor &
Creditor Law Art. 10 §§ 270 et seq New York law establishes two forms of fraudulent
conveyances which are relevant to this case. Debtor Creditor Law (“DCL”) § 273 applies
irrespective of motive or knowledge, and states that “Every conveyance made and every
obligation incurred by a person who is or will be thereby rendered insolvent is fraudulent as to
creditors without regard to his actual intent if the conveyance is made or the obligation is
incurred without a fair consideration.” It is uncontested that Mainspring, with knowledge of the
debt it owed to Plaintiffs, made a conveyance of $3,783,062.00 with no consideration to non-
parties ESJ Group LLC (“ESJ”) and JPO22, LLC (“JPO22”), rendering Mainspring insolvent
and without assets to repay Plaintiffs and entitling Plaintiffs to avoidance of the transfers. DCL §
267 applies in instances where conveyances were made with intent to defraud. Intent may be
established by “badges of fraud,” which include: “(1) lack or inadequacy of consideration; (2)
family, friendship or close associate relationship between the parties; (3) retention of possession,
benefit, or use of the property in question; (4) financial condition of the party sought to be
charged both before and after the transaction in question; (5) existence or cumulative effect of a
pattern or series of transactions or course of conduct after the incurring of debt, onset of financial
difficulties or pendency or threat of suits by creditors; and (6) general chronology of the events
and transactions under inquiry.” Kittay v Flutie N.Y. Corp. (In re Flutie N.Y. Corp.), 310 B.R. 31,
2004 Bankr. LEXIS 722 (Bankr. S.D.N.Y. 2004). The evidence will demonstrate that every
enumerated “badge of fraud” was present in this case. Ovasapyan had knowledge and intent
sufficient to mandate summary judgment in Plaintiffs’ favor, avoidance of said transfers, and
statutory attorneys’ fees pursuant to DCL § 276-a.

Defendants’ Affirmative Defenses are Meritless Other than bald and conclusory assertions, the
evidence does not support any of the Defendants’ eleven boilerplate affirmative defenses.

For the foregoing reasons, Scripts and Lieb respectfully seek a conference to set a briefing
schedule for their motion for summary judgment.

Respectfully,
/s/ Adam M. Birnbaum
Adam M. Birnbaum

cc: Counsel of Record (via ECF)
